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                              EXHIBIT D




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                           OPERATING AGREEMENT
                                            FOR

                                    OtterSec LLC
            A MULTIPLE MEMB ER-MANAGED LIMITED LIABILITY COMPA Y



                                       ARTICLE I
                                   Company Formation
1.1. FORMATION . The members have formed a Limited Liability Company (the "Company")
      according to the laws of the state in which the Company was formed. This operating
      agreement is entered into and effective as of the date it is adopted by the members.

1.2. REGISTERED AG ENT. The name and location of the Company's registered agent          ill
      be stated in the compa ny's formation documents.

1.3. TERM . The Company will continue perpetually unless:
               (a) Members whose capital interest as defined in Article 2.2 exceeds 50 percent
                      vote for dissolution ;
               (b) Any event which causes the Company's business to become unlawful; {c)
               The death , resignation , expulsion , bankruptcy, retirement of a member or the
               occurrence of any other event that term inates the continued membership of a
               member of the Company; or
         (ct) Any other event causing dissolution of the Company under applicable state laws.

1.4. CONTINUANCE OF COMPANY. In the event of an occurrence described in Section
      1.3(c), if there are at least two remaining members, those members have the right to
      continue the business of the Company. This right can be exercised only by the
      unanimous vote of the remaining members within ninety (90) days after the occurrence
      of an event described in Section 1.3(c). If not exercised, the right of the members to
      continue the business of the Company will expire .

1.5. BUSINESS PURPOSE. The Company wil l conduct any lawful business deemed
      appropriate in carrying out the company's objectives.

1.6. PRINCIPAL PLACE OF BUSINESS. The Company's principal place of business will be
      stated in the formation documents, or as selected by the members.

1.7. THE MEMB ERS . The name and residential address of each member are listed in
       Certification of Member section of this agreement.

1.8. AD MISSION OF ADDITIONAL MEMBERS. Additional members may only be admitted to
      the Com pany through a Certificate of New Membership issuance by the company of
      new interest in the Company or as otherwise provided in this agreement.
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2.1.


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        4.2. MEMB ERS. h II
        m mb r i   n   nt f


4.3. POWERS OF M MB RS . All m m               r     r   uth         n th Comp ny' beh If to mak
      d cisions to:
                                                          th        sltlon o·f th Company'
                                                           u       f oth r ss ts;
              ( ) th        ~,.,t.:l,n"I O.    y          f th        ny's        ts;
                   (d)                         n         gr ntln of security Int rests In the

                   ( ) th pr -p ym nt, refln ncln , or ext nslon of any loan ffectln the
                          Comp ny's ss ts;
                   (f) the compromls or            of ny of the Company's claims or debts;
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                                                                    th



                                                                                    , franchise
                                                                                      cts and
                                                                           s    I



                                                                           omp ny's funds ;
                                                                           si mil r

                                                                    mp ny's ff irs.

                                                                        cutiv Member. The
                                                                       h operations of th e
                                                                       f    Chief Executive
                                                                       e Id by the Chief
                                                                        the other members
                                                                        n of the Company's
                                                                      re ments. The Chief
                                                               ,   u need not follow such


                                                      h Id in the Company's name or in the
                                                      sign te. Pursuant to the powers listed
                                                   nt r into nominee agreement with any
                                                nt in provisions indemnifying the nominee,


             INFORMATION . Th                 E cutiv M mber must supply information
            th                       ti iti to ny member upon request. Any member, or
                                        ill h      ccess to and may inspect and copy all
                                            Chi f E cutive Member's possession regarding
                                     Acc:ess nd in pection of information will be at the


                                      i n of th Chief E ecutive Member, the effect of which
                                t    th Comp ny or the members , if done in good faith to
                                    f th Comp ny, will not subject the Chief Executive


INDEMNIFICATION. Th      omp ny will indemnify any person who was or is a party
  d f nd nt r i thr t n d to   m d      party defendant, in a pending or completed
                     ding , h th r civil , cri minal , administrative, or investigative (other
           cti n b r in th right of the Company) by reason of the fact that the person
 i or         m mber of th Company, employee, or agent of the Company, or is or was
   erving t th requ st of the Comp ny, for instant expenses (including attorney's fees),
 judgment , fine , nd mounts paid in settlement actually and reasonably incurred in
 connection ith such ction , suit or proceeding if the members determine that the
      on cted in good faith nd in a manner he or she reasonably believed to be in or
 n t oppo ed to the best interest of the Company. and with respect to any criminal
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       action proce ding, h s no r son bl c us to b Ii v his r h r conduct was
       unlawful. The termination of ny ct, n, suit, r proc din by judgment, order,
       settlement, conviction, or upon a pl a f "no lo C nt n r " or its uiv I nt, do s not
       in itself create a presumption that th p rson i or did n t ct in ood f ith and in
       manner hlch h or she r asonably b Ii v d t b in th         st int r st of th Company,
       and, with respect to any criminal action or proc      in , h d r sonabl caus to
       belie e that his or her conduct was lawful.

4.9. RECORDS. The m mb rs must k        p th f llowin    t th   m   ny's prin i   I pl c of
       business or other loca ion:
              (a) A current list of th full nam an th I st known str     dr s of ch
              member; (b) copy of th Articl s of Org niz ti n, this     r ting gr m nt,
              and all am ndments to eith r docum nt;
              (c) Copies of Comp ny's f d r I, st t nd loc I incom t x r turns and reports
                     for the thr ( ) most rec nt y rs;
         (d) Copies of the Company's financi I st tern nts for th thr ( ) m t r c nt y rs.

                                         ARTICL    V
                                      Comp n      tlon
5.1.   A AGE E T FEE. Any member rendering s rvices to th Company is ntitl d to
       compensation proportionate with th valu of thos s rvi c s.

5.2, REI BURSEME T. The Company must reimburs the m mbers for II direct
      out-of-poc et xpenses incurred by them in m n in th Comp ny.

                                        ARTICLE VI
                                       Bookk eplng
6. _ BOOKS. The Chief E· ecutive M mber will maintain compl          nd ccur t ccounting
      of the Company's affairs at th Comp ny's principal pl c            ss. Th m mb rs
      may s lect th m thod of ccoun ting and th comp ny's                    rlo will b th
      calendar ear.

6.2.   E BER'S ACCOUNTS. The members must m intain
       accounts for each memb r. Each m mb r's c pltal ccoun t will      d t rmln d nd
       maintained in the mann r s t forth in Tr asury e ulation 1.704-l(b )( 2)(lv) nd will
       consist of his or h r initial capi tal contribution incr s d by:
             (a) Any additional capital con tribution mad by th m mb r;
              (b) redit balances transferr d from th m mb r's distribution cc unt to hi s or
                    her capital account;
             and decreased by:
            ( ) Distributions to the memb r in r duction of Comp ny c pit I;
             (y) The member's share of Comp ny loss s if charg d to his or h r c pit I




6.3. REPORTS. The Chief Executive Member will close the books of ccount after th close
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       of each calendar year and will prepare and send to each member, a statement of such
       member's distributive share of income and expense for income tax reporting purposes.

                                          ARTICLE VII
                                          Transfer
7.1.   SSIGNMENT. If a member proposes to sell, assign, or otherwise dispose of all or any
       part of his or her interest in the Company, that member must first make a written offer
       to sell his or her interest to the other members at a price determined by mutual
       agreement. If the other members decline or fail to elect such interest within thirty (30)
       days. and if the sale or assignment is made and the members fail to approve this sale
       or assignment unanimously then , pursuant to the applicable law, the purchaser or
       assignee will have no right to participate in th e management of the business and
       affairs of the Company. The purchaser or assignee will only be entitled to receive the
       share of the profits or other compensation by way of income and the return of
       contributions to which that member would otherwise be entitled.

                                         ARTICLE VIII
                                         Dissolution
 .1. DISSOLUTION. The member(s) may dissolve the company at any time . The member
      may OT dissolve the company for a loss of membership interests. Upon dissolution
      the company must pay its debts first before distributing cash, assets , and/or initial
       capital to the member or the members interests. The dissolution may only be ordered
       by the member(s), not by the owner of the members interests.

                                CERTIFICATION OF MEMBER
The undersigned hereby agree , acknowledge, and certify that the forego ing operating
agreement is adopted and approved by each member as of this 14th day of Feburary, 2022.

 embers :

 ame: Robert Chen.      Percent 50%

  dress : 71 o 1 2nd PL SE Bellevue WA 98006


 ame : am Chen .       Percent 50%                        >~
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